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 9
10
                        UNITED STATES DISTRICT COURT
11
                       CENTRAL DISTRICT OF CALIFORNIA
12
13
     MAX WILD, Individually and On            )   Case No.
14   Behalf of All Others Similarly Situated, )
15                                            )   CLASS ACTION COMPLAINT
                                                  FOR DAMAGES AND DEMAND
     Plaintiff,                               )   FOR JURY TRIAL
16
                                              )
17          vs.                               )
18                                            )
     PROFESSIONAL RECOVERY                    )
19   SERVICES, INC.,                          )
20                                            )
     Defendant.                               )
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                                              )
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 1          Plaintiff, MAX WILD (“Plaintiff”), on behalf of himself and all others
 2   similarly situated, alleges the following upon information and belief based upon
 3   personal knowledge:
 4                               NATURE OF THE CASE
 5          1.    Plaintiff brings this action for himself and others similarly situated
 6   seeking damages and any other available legal or equitable remedies resulting from
 7   the illegal actions of PROFESSIONAL RECOVERY SERVICES, INC.,
 8   (“Defendant”    or    “PRS”),    in   negligently,   knowingly,    and/or   willfully
 9   communicating with Plaintiff and failing to provide Plaintiff with meaningful
10   disclosure of the nature or purpose of Defendant’s calls in violation of the Fair Debt
11   Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).
12                              JURISDICTION & VENUE
13          2.    Jurisdiction of this Court arises under 15 U.S.C. §1692k(d).
14          3.    Venue is proper in the United States District Court for the Central
15   District of California because Plaintiff, a resident of Los Angeles County, resides
16   here and Defendant does business within the state of California and this Judicial
17   District.
18                                         PARTIES
19          4.    Plaintiff, MAX WILD (“Plaintiff”), is a natural person residing in
20   West Hollywood, California and is a “consumer” as defined by the FDCPA, 15
21   U.S.C. §1692a(3).
22          5.    At all relevant times herein, Defendant, PROFESSIONAL
23   RECOVERY SERVICES, INC. (“Defendant”), was a company engaged, by use of
24   the mails and telephone, in the business of collecting a debt from Plaintiff which
25   qualifies as a “debt,” as defined by 15 U.S.C. §1692a(5).       Defendant regularly
26   attempts to collect debts alleged to be due another, and therefore is a “debt
27   collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).
28   ///


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 1                                      FACTUAL ALLEGATIONS
 2            6.       At various and multiple times prior to the filing of the instant
 3   complaint, including within the one year preceding the filing of this complaint,
 4   Defendant contacted Plaintiff in an attempt to collect an alleged outstanding debt.
 5            7.       Defendant, in its attempt to collect the alleged debt owed by Plaintiff,
 6   placed telephone calls to Plaintiff’s telephone number ending in 4208.
 7            8.       The debt Defendant is attempting to collect is an allegedly past due
 8   account stemming from a personal credit account allegedly owed to Bank of
 9   America.
10            9.       The alleged debt is a “debt” as defined by the FDCPA as the alleged
11   debt is an individual consumer credit account used primarily for personal, family
12   and/or household use/purposes.
13            10.      Defendant called Plaintiff’s telephone number in an attempt to collect
14   the alleged debt and, when Plaintiff did not answer said calls, left voice messages
15   on Plaintiff’s telephone in connection with the collection of the aforementioned
16   debt. In all, Defendant has left at least two (2) such voicemails on Plaintiff’s
17   telephone in connection with the collection of the alleged debt owed within the past
18   one year from the date of filing.
19            11.      Each and every voicemail that Defendant left for Plaintiff was exactly
20   the same verbatim. The voice messages left on Plaintiff’s telephone, stated as
21   follows:
22                     The Message is for Max Wild. My name is Marcile and
23                     I’m calling from PRS. Please return my call to (866)
24                     784-1160 extension 3133.1
25   ///
26   ///
27
28   1
      Plaintiff is in possession of true and correct copies of Defendant’s messages and can provide a copy of said
     messages via Compact Disc (“CD”) to this Honorable Court upon request.


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 1         12.    Defendant’s voice messages described above were left on Plaintiff’s
 2   phone on August 4, 2014 at 7:51pm and August 12 at 7:58pm.
 3         13.    The voice messages left by Defendant’s employee is a scripted
 4   message that Defendant has trained all of its employees to leave this identical
 5   message for all class members. It is Defendant’s internal policy and procedure to
 6   leave this scripted and re-approved message each and every time one of
 7   Defendant’s employees leaves a voicemail message on a consumer’s telephone
 8   relating to the collection of a debt. This is further evidenced by the fact that each
 9   of the two (2) messages described above were identical to one another.
10         14.    Defendant’s voice messages do not alert Plaintiff as to the purpose or
11   reason for the Defendant’s telephone calls. Defendant’s voice messages do not
12   advise Plaintiff in any fashion as to the reason for Defendant’s call whatsoever (i.e.,
13   that Defendant is calling in regards to the collection of a debt).
14         15.    Defendant’s voice messages do not alert Plaintiff that Defendant is a
15   debt collector.
16                                CLASS ALLEGATIONS
17         16.    Plaintiff brings this action on behalf of himself and all others similarly
18   situated, as a member of the proposed class (hereafter “The Class”) defined as
19   follows:
20                All persons within the United States who received any
21                collection telephone call from Defendant, which resulted
22                in Defendant leaving a voice message that is identical or
23                substantially similar to those Plaintiff received from
24                Defendant, which failed to inform said person of the
25                nature or purpose for Defendant’s call, or that Defendant
26                is a debt collector, within the one year prior to the filing
27                of this Complaint
28   ///


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 1         17.    Plaintiff represents, and is a member of, The Class, consisting of All
 2   persons within the United States who received any collection telephone call from
 3   Defendant, which resulted in Defendant leaving a voice message that is identical
 4   or substantially similar to those Plaintiff received from Defendant, which resulted
 5   in Defendant leaving a voice message which failed to inform said person of the
 6   nature or purpose for Defendant’s call, or that Defendant is a debt collector within
 7   the one year prior to the filing of this Complaint
 8         18.    Defendant, its employees and agents are excluded from The Class.
 9   Plaintiff does not know the number of members in The Class, but believes the Class
10   members number in the hundreds, if not more. Thus, this matter should be certified
11   as a Class Action to assist in the expeditious litigation of the matter.
12         19.    The Class is so numerous that the individual joinder of all of its
13   members is impractical. While the exact number and identities of The Class
14   members are unknown to Plaintiff at this time and can only be ascertained through
15   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
16   The Class includes hundreds of members. Plaintiff alleges that The Class members
17   may be ascertained by the records maintained by Defendant.
18         20.    Common questions of fact and law exist as to all members of the Class
19   which predominate over any questions affecting only individual members of the
20   Class. These common legal and factual questions, which do not vary between Class
21   members, and which may be determined without reference to the individual
22   circumstances of any Class members, include, but are not limited to, the following:
23                a.     Whether Defendant has a policy of communicating with
24   consumers in connection with the collection of an alleged debt wherein Defendant
25   fails to inform said residents of the nature or purpose for Defendant’s calls, or that
26   Defendant is a debt collector;
27                b.     Whether Defendant has communicated with consumers in
28   connection with the collection of an alleged debt wherein Defendant fails to inform


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 1   said consumers of the nature or purpose for Defendant’s calls, or that Defendant is
 2   a debt collector; and
 3                  c.    The nature and extent of damages and other remedies to which
 4   the conduct of Defendant entitles the Class members.
 5            21.   As a person that received collection calls from Defendant wherein
 6   Defendant fails to inform him of the nature or purpose for Defendant’s calls, or that
 7   Defendant is a debt collector, Plaintiff is asserting claims that are typical of The
 8   Class.
 9            22.   Plaintiff will fairly and adequately protect the interests of the members
10   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
11   class actions.
12            23.   A class action is superior to other available methods of fair and
13   efficient adjudication of this controversy, since individual litigation of the claims
14   of all Class members is impracticable. Even if every Class member could afford
15   individual litigation, the court system could not. It would be unduly burdensome
16   to the courts in which individual litigation of numerous issues would proceed.
17   Individualized litigation would also present the potential for varying, inconsistent,
18   or contradictory judgments and would magnify the delay and expense to all parties
19   and to the court system resulting from multiple trials of the same complex factual
20   issues. By contrast, the conduct of this action as a class action presents fewer
21   management difficulties, conserves the resources of the parties and of the court
22   system, and protects the rights of each Class member.
23            24.   The prosecution of separate actions by individual Class members
24   would create a risk of adjudications with respect to them that would, as a practical
25   matter, be dispositive of the interests of the other Class members not parties to such
26   adjudications or that would substantially impair or impede the ability of such non-
27   party Class members to protect their interests.
28   ///


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 1          25.      Defendant has acted or refused to act in respects generally applicable
 2   to The Class, thereby making appropriate final and injunctive relief with regard to
 3   the members of the California Class as a whole.
 4                                           COUNT I:
 5     VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
 6          26.      Plaintiff hereby incorporates the preceding paragraphs as if set forth
 7   in full.
 8          27.      Based upon the foregoing, Defendant’s conduct violated the FDCPA
 9   as follows:
10                a) Placing telephone calls without providing meaningful
11                   disclosure of the caller’s identity (§1692d(6));
12                b) Failing   to   advise   a   consumer    in   all   subsequent
13                   communications that Defendant is a debt collector
14                   (§ 1692e(11)); and
15                c) Failing to notify Plaintiff during the initial communication
16                   with Plaintiff that the communication was an attempt to
17                   collect a debt and any information obtained would be used
18                   for that purpose (§ 1692e(11));
19          28.      Plaintiff alleges that to the extent that Defendant’s actions, counted
20   above, violated the FDCPA, those actions were done knowingly and willfully.
21          29.      As a direct and proximate result of Defendant’s violations of the
22   FDCPA, 15 U.S.C. § 1692 et seq., Plaintiff and the members of the Class have
23   suffered injury, and may recover from Defendant up to one thousand dollars
24   ($1,000.00) in statutory damages in addition to actual damages and reasonable
25   attorneys’ fees and costs pursuant to 15 U.S.C. § 1692k.
26          30.      The violations of the FDCPA, 15 U.S.C. § 1692 et seq., described
27   herein present a continuing threat to members of the Class and members of the
28   general public in that Plaintiff is informed and believes and thereon alleges that


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 1   Defendant continues to engage in these practices, and will not cease doing so unless
 2   and until forced to do so by this Court.
 3                               PRAYER FOR RELIEF
 4         Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and The
 5   Class members the following relief against Defendant:
 6            1. That this action be certified as a class action on behalf of The Class
 7                and Plaintiff be appointed as the representative of The Class;
 8            2. For statutory damages up to $1,000.00 per class member, or of
 9                $500,00.00 or 1% of Defendant’s net worth, whichever is the lesser,
10                pursuant to 15 U.S.C. § 1692k;
11            3. For reasonable attorneys’ fees and costs of suit;
12            4. For such further relief as this Court deems necessary, just, and proper.
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14
15
16   Date: April 23, 2015                   MARTIN & BONTRAGER, APC
17
                                                By:/s/ Nicholas J. Bontrager
18                                                     Nicholas J. Bontrager
19                                                     Attorneys for Plaintiff
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